    Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 1 of 24




                                     
             EXHIBIT 3 
                      
        Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 2 of 24



                                                                    Page 1

1
2       UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
3       Civil Case No. 17-CV-02393
        - - - - - - - - - - - - - - - - - - - -x
4       CIERA WASHINGTON,
                            Plaintiff,
5                -against-
        WALGREENS; WALGREENS CO.; DUANE READE;
6       DUANE READE INC.; DUANE READE
        INTERNATIONAL, LLC; and Individually and
7       Jointly; LUIS GUERRERO; GERMAINE ALLEN;
        VIVIAN GHOBRIAL; and CRYSTAL BECKRUM,
8                           Defendants.
        - - - - - - - - - - - - - - - - - - - -x
9
                                        1250 Broadway
10                                      New York, New York
                                        February 13, 2018
11                                      10:25 a.m.
12
13                    PORTIONS CONFIDENTIAL,
                      ATTORNEYS' EYES ONLY
14
15         DEPOSITION of VIVIAN GHOBRIAL, one of
16      the Defendants in the above-entitled
17      action, held at the above time and place,
18      taken before Brian Brenner, a Shorthand
19      Reporter and Notary Public of the State of
20      New York, pursuant to the Federal Rules of
21      Civil Procedure, Court Order and
22      stipulations between Counsel.
23
24
25

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        Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 3 of 24



                                                                  Page 91

1                          V. GHOBRIAL
2       and I need for her to contact benefits and
3       provide the supporting documents for her
4       injury.       I explained, you know, so we will
5       have on record just in case -- we didn't
6       want her to get hit with any bills or
7       whatever because this was a Workers' Comp
8       case, so her best bet is to contact
9       benefits.
10             Q        Because it's a Workers' Comp
11      case?
12             A        It would be a Workers' Comp
13      case.       According to her she had injuries
14      from the robbery, and she was going to
15      hospitals and doctors and stuff, so I said
16      it would be a Workers' Comp case.                       It's
17      just you need to contact benefits in order
18      for you to discuss your options with
19      benefits, and she said she would.                       That
20      was it.
21             Q        So before you were saying that
22      you were contacting Plaintiff -- you were
23      communicating with Plaintiff because you
24      were trying to get Plaintiff to submit
25      documentation to benefits to support that

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        Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 4 of 24



                                                                  Page 92

1                          V. GHOBRIAL
2       she was on medical leave, but now you seem
3       to be talking about that you spoke with
4       Plaintiff for her benefit so that she
5       could make sure to get Workers' Comp
6       payments?
7              A        It's the same conversation.
8       It's pretty much proceeding to say, you
9       know, because -- she said -- according to
10      her she went to the hospital and she's
11      seeking medical benefits.                     I said it's to
12      your benefit to contact the benefit
13      department so you don't get hit with any
14      bills so we can have a case for her case.
15             Q        At that time did Plaintiff have
16      medical benefits as an employee of the
17      company?
18             A        I didn't check, but again I told
19      her to discuss her options with benefits
20      department.
21             Q        What was your position at the
22      company?        When I say the company you know
23      I mean Walgreens and Duane Reade, right?
24             A        Yes.
25             Q        What was your position at the

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        Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 5 of 24



                                                                 Page 112

1                          V. GHOBRIAL
2       conducting an investigation, and it
3       involved a few people and Ciera Washington
4       as part of it.
5              Q        Understood.           So before Plaintiff
6       was robbed in December you never saw a
7       video with respect to Plaintiff being
8       involved in price modification, right?
9              A        Correct.
10             Q        And before Plaintiff was robbed
11      in December you never saw any
12      documentation or any other information
13      related to Plaintiff allegedly being part
14      of a price modification; is that correct?
15             A        Correct.
16             Q        Now, when you say there's a
17      request to fire Plaintiff, you were saying
18      part of the procedure is that someone
19      makes a request to fire an employee.                        Then
20      you look into that, right?
21             A        Correct.
22             Q        What form is that request to
23      fire in?        Is it paper, e-mail, virtual, in
24      person, verbal?            What is it?
25             A        Depending on the case.

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        Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 6 of 24



                                                                 Page 136

1                          V. GHOBRIAL
2                       MR. WARSHAW:              Objection to
3              form.
4              Q        To price modify the items for
5       her?
6                       MR. WARSHAW:              Objection to
7              form.
8              Q        Against policy?
9              A        His statement.
10             Q        Gregory Spear said that?
11             A        No, but his statement admitting
12      that he conducted it for her, and for her
13      to accept it and for her to hand him $20,
14      that means she knowingly knew he was price
15      modifying for her.              She knew that he was
16      going to price modify for her.
17             Q        Let's break that down.                You said
18      Gregory Spear saying he's price modifying
19      this for Plaintiff.               Is that what you're
20      saying?
21             A        He admitted to price modifying
22      the items for several employees.                      One of
23      them was Ms. Washington.
24             Q        Did he ever say that Ciera
25      Washington asked him to do it?

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        Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 7 of 24



                                                                 Page 108

1                          V. GHOBRIAL
2       failed to come back from their leave.
3              Q        Understood, but is that the same
4       -- does that apply to Plaintiff's case as
5       well?
6              A        Yes.
7              Q        So you said you make the
8       determination -- you made the
9       determination to fire Plaintiff, right?
10             A        Correct.
11             Q        Was there a request made for her
12      firing?
13             A        Just for loss prevention, not
14      for medical.
15             Q        My question is simple: Yes or
16      no, was there a request to fire Plaintiff?
17             A        From loss prevention, yes, there
18      was a request to fire the Plaintiff for
19      theft.
20             Q        And when did that request come
21      in?
22             A        I am not sure of the exact date.
23             Q        Do you know what month?
24             A        Not sure.
25             Q        Was it after Plaintiff was

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        Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 8 of 24



                                                                 Page 109

1                          V. GHOBRIAL
2       robbed?
3              A        Correct.
4              Q        How long after Plaintiff was
5       robbed was there a request to fire
6       Plaintiff from loss prevention?
7              A        I am not sure.
8              Q        One week?
9              A        Not sure.
10             Q        Two weeks?
11             A        Not sure.
12             Q        Three weeks?
13             A        I am not sure.
14             Q        Four weeks?
15             A        Same answer, I am not sure.
16             Q        Do you know if it was before
17      Christmas?
18             A        I believe sometime in January.
19      I am not sure.
20             Q        January 2016?
21             A        January 2016.
22             Q        Just trying to get the record
23      straight.        There was no request to fire
24      Plaintiff before January 2016?
25             A        I am not sure.

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        Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 9 of 24



                                                                   Page 135

1                          V. GHOBRIAL
2       training as a shift leader?                         Yes.
3              Q        And do you know that as part of
4       Ms. Washington's training as a shift
5       leader she was taught that she has to know
6       as part of her job the price of every
7       single item at any given time regardless
8       of if it's ever on sale, discounted,
9       whatever?
10                      MR. WARSHAW:              Objection to the
11             form.
12             A        No.
13             Q        You said that Plaintiff stole --
14                      MS. MORRISON:               Strike that.
15             Q        You said that Plaintiff rang up
16      the items, right?
17             A        No.
18                      MR. WARSHAW:              Objection to the
19             form.
20             Q        So you know that Plaintiff
21      didn't ring up the items, right?
22             A        Correct.
23             Q        What, if anything, gave you the
24      indication that Plaintiff told Gregory
25      Spear to ring up the items?

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 10 of 24



                                                                 Page 136

1                         V. GHOBRIAL
2                      MR. WARSHAW:               Objection to
3              form.
4              Q       To price modify the items for
5       her?
6                      MR. WARSHAW:               Objection to
7              form.
8              Q       Against policy?
9              A       His statement.
10             Q       Gregory Spear said that?
11             A       No, but his statement admitting
12      that he conducted it for her, and for her
13      to accept it and for her to hand him $20,
14      that means she knowingly knew he was price
15      modifying for her.              She knew that he was
16      going to price modify for her.
17             Q       Let's break that down.                 You said
18      Gregory Spear saying he's price modifying
19      this for Plaintiff.               Is that what you're
20      saying?
21             A       He admitted to price modifying
22      the items for several employees.                      One of
23      them was Ms. Washington.
24             Q       Did he ever say that Ciera
25      Washington asked him to do it?

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 11 of 24



                                                                 Page 137

1                         V. GHOBRIAL
2              A       No.
3              Q       Did anyone ever say that Ciera
4       Washington asked him to do it?
5              A       Not that I know of.
6              Q       Did you read anything that said
7       Ciera Washington asked Gregory Spear to
8       price modify these items for her?
9              A       No.
10             Q       Did anything in the tape show
11      you that Ciera Washington said -- by the
12      way, was the tape you reviewed -- did it
13      have any audio?
14             A       No.
15             Q       It was just video?
16             A       Correct.
17             Q       So you didn't hear anything
18      anyone said?
19             A       Correct.
20             Q       So did anything in the tape show
21      you that the Plaintiff said to Gregory
22      Spear "price modify these items for me"?
23             A       No.
24             Q       Any other indication that --
25                     MS. MORRISON:                Strike that.

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 12 of 24



                                                                 Page 137

1                         V. GHOBRIAL
2              A       No.
3              Q       Did anyone ever say that Ciera
4       Washington asked him to do it?
5              A       Not that I know of.
6              Q       Did you read anything that said
7       Ciera Washington asked Gregory Spear to
8       price modify these items for her?
9              A       No.
10             Q       Did anything in the tape show
11      you that Ciera Washington said -- by the
12      way, was the tape you reviewed -- did it
13      have any audio?
14             A       No.
15             Q       It was just video?
16             A       Correct.
17             Q       So you didn't hear anything
18      anyone said?
19             A       Correct.
20             Q       So did anything in the tape show
21      you that the Plaintiff said to Gregory
22      Spear "price modify these items for me"?
23             A       No.
24             Q       Any other indication that --
25                     MS. MORRISON:                Strike that.

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 13 of 24



                                                                   Page 141

1                         V. GHOBRIAL
2              Q       Every time you leave the store,
3       you say?
4              A       Correct.
5              Q       And because the Plaintiff -- and
6       is that policy?           You said it's in the
7       handbook?
8              A       Yes.      To get a bag check and
9       coat check.
10             Q       And because Ciera Washington
11      didn't get a bag check and because she
12      gave $20 to Gregory Spear, that's the
13      entire reason for your support for saying
14      that Plaintiff wanted Gregory Spear to
15      price modify all those items for her?
16                     MR. WARSHAW:               Objection to the
17             form.
18             Q       Is that what you're saying?
19             A       It's various, the facts, but
20      those two facts were part of it too, yes.
21      She didn't follow company policy when it
22      comes to employee purchase.                         She didn't
23      follow company policy when it comes --
24      with regards to bag checks when she
25      leaves.

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 14 of 24



                                                                 Page 142

1                         V. GHOBRIAL
2              Q       Anything else?
3              A       Instead of making a purchase off
4       the clock, not on the clock.
5              Q       There's a policy that you can't
6       buy items as an employee when you are not
7       working?
8              A       You are supposed to be off the
9       clock.      Not on the clock when you purchase
10      items.
11             Q       So there's a policy saying you
12      will be disciplined if you purchase an
13      item while you are working?
14             A       Correct.
15             Q       What else supported your
16      reasoning that Plaintiff stole items, as
17      you said?
18             A       The fact that she selected items
19      that she knows is high-priced items, and
20      loss prevention asks for these items to be
21      locked due to being high-priced items --
22             Q       Wait, stop.            You said loss
23      prevention told her she should lock these
24      items, the price of these items in her
25      brain? Is that what you mean?

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 15 of 24



                                                                 Page 163

1                         V. GHOBRIAL
2       they will be held accountable and it will
3       include up to and including termination.
4       I'm trying to find it for you.
5              Q       Are you saying anywhere every
6       single bullet point, every single thing
7       within this employee handbook, if the
8       employee does it mean that they are
9       subject to discipline up to and including
10      termination?
11             A       I am only saying when it comes
12      to violation of company policies and
13      rules.      Not everything in bullet points in
14      here.
15             Q       Understood, but now you pointed
16      to employee shopping at the end of
17      employee's shift.             Does it say anything
18      there if you do not do this you violate
19      company policy?
20             A       Again I am going to try to find
21      you where it says any violation of company
22      policies could lead to termination.
23             Q       I understand, but I'm asking you
24      a different question.                 Please focus on my
25      question that I'm asking.                     I am asking you

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 16 of 24



                                                                 Page 164

1                         V. GHOBRIAL
2       -- because you said there's something in
3       the handbook that says any violation of
4       company policy could subject you to
5       termination, right?
6              A       Yes.
7              Q       Is there anything in the
8       employee bullet point that says if you
9       don't follow this you are violating
10      company policy?
11             A       Not right next to it --
12             Q       Anywhere --
13             A       -- like, in the same handbook.
14             Q       You mean in the same handbook?
15             A       In the same handbook that every
16      policy and procedure, fail to follow
17      company policy and procedure can lead to
18      up and including termination.
19             Q       Understood, but is there
20      anything here in the bullet point that
21      indicates it includes this particular
22      bullet point?
23             A       No handbook says right next to
24      each bullet point if "and you fail to do
25      so it will be termination, and if you fail

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 17 of 24



                                                                 Page 165

1                         V. GHOBRIAL
2       to do so will be termination, and if you
3       fail to do so will be termination."
4              Q        Understood, but my question to
5       you is different again.
6                       MS. MORRISON:               Please mark that
7              the witness is --
8              A        No.
9              Q        Okay, now you finally answered
10      it.        So there's nothing here that says
11      while the employee is shopping, blah,
12      blah, blah, blah, and if you don't do this
13      you are violating a company policy?
14                      MR. WARSHAW:              Objection to
15             form.
16             Q        Right?
17             A        No.    Unfortunately not every
18      bullet point, we don't have -- you will be
19      violating company policy.
20             Q        There's nothing here? That's my
21      question.
22             A        Right next to it, no.               There's
23      nothing here --
24             Q        But --
25             A        There's --

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 18 of 24



                                                                 Page 166

1                         V. GHOBRIAL
2              Q       Hold on.         Is there anything in
3       sum and substance near any of these bullet
4       points that you just pointed to at the top
5       of DR62 that say these are company
6       policies that if you violate -- these are
7       company policies, indicating that they
8       cannot be violated?
9              A       I will find it for you, yes.
10             Q       No.     I'm saying, anything here
11      in these five bullet points?
12             A       On this paper, no.
13             Q       It says at the top heading
14      employee shopping, correct?
15             A       Yes.
16             Q       It doesn't say this is a policy
17      that you must follow or you could be
18      fired, right?
19                     MR. WARSHAW:               Objection to
20             form.
21             Q       Right?
22             A       Right.
23             Q       Now, do you see above on DR161
24      lateness?        Do you see that?
25             A       I am sorry?

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 19 of 24



                                                                 Page 196

1                         V. GHOBRIAL
2       their bag checked?
3              A       I -- no.
4                      MR. WARSHAW:               Same objection.
5              Q       Have you ever disciplined
6       anybody because they exited the store
7       without having their bag checked?
8                      MR. WARSHAW:               Same objection.
9              A       No.
10             Q       Any discipline of any kind?
11                     MR. WARSHAW:               Same objection.
12             A       I don't discipline.                  I only get
13      requests for termination when it's final.
14      I get that, so managers, I'm sure, do
15      discipline people, or if there's an issue
16      like that -- I get the final end of it.
17             Q       Understood.            Thank you for
18      clarifying.          Have you ever been involved
19      in or heard of someone being disciplined
20      because they left the store without having
21      their bag checked?
22                     MR. WARSHAW:               Objection to
23             form.
24             A       Not sure.
25             Q       Do you recall?

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 20 of 24



                                                                 Page 197

1                         V. GHOBRIAL
2                      MR. WARSHAW:               Objection to
3              form.
4              A       No.
5              Q       You don't recall?
6                      MR. WARSHAW:               Objection to
7              form.
8              A       No.
9              Q       And we can go back to where we
10      are trying to find where in the employee
11      handbook it says that if you don't have
12      your bag or coat, belongings checked every
13      time you leave the store you will be
14      subject to discipline.
15                     MR. WARSHAW:               Objection to
16             form.
17                     MS. MORRISON:                While she is
18             looking, may I ask for the grounds for
19             the objection?
20                     MR. WARSHAW:               It's the same
21             objection.        You told me not to make a
22             speaking objection, so it's an
23             objection to the form.
24                     MS. MORRISON:                No.     According
25             to the rules, when you're actually

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 21 of 24



                                                                 Page 294

1                         V. GHOBRIAL
2       other purported violations contained in
3       the employee handbook that you allege
4       Plaintiff violated, correct?
5              A       Correct.
6              Q       And there are no other
7       provisions in the employee handbook that
8       you relied on to suspend or fire Plaintiff
9       other than what you already testified to,
10      correct?
11             A       Correct.
12             Q       And then you --
13                     MS. MORRISON:                Just noting for
14             the record that we have to stop
15             quickly because defense counsel needs
16             to patch somebody in on the phone.
17                     Is it okay to speak?
18                     MR. WARSHAW:               Go.
19                     MS. MORRISON:                The phone's
20             ringing but I'll ask a question.
21             Q       You said the other written
22      policies you relied on to suspend and fire
23      Plaintiff were in modules, correct?
24             A       Yes.
25             Q       So let me hand you what was

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 22 of 24



                                                                 Page 296

1                         V. GHOBRIAL
2       Exhibit 15 consists of documents Bates
3       stamped DR127 through, to, and including
4       DR140.      Please, within Plaintiff's Exhibit
5       15, point to all the provisions that you
6       relied on to suspend and fire the
7       Plaintiff.        Actually, before we begin on
8       that, though, I want to make sure it's
9       clear.      You suspended Plaintiff for the
10      same reasons that you fired her, correct?
11             A       Correct.
12             Q       So we can talk about your
13      reasons for suspending and firing
14      Plaintiff jointly because they are the
15      exact same reasons?
16             A       Correct.
17             Q       When did you make the decision
18      to fire Plaintiff?
19                     MR. WARSHAW:               Objection.
20             A       I believe February 22.
21             Q       What year, 2016?
22             A       Yes.
23             Q       Right after Plaintiff -- the day
24      Plaintiff came back from medical leave?
25             A       Right after her interview, loss

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 23 of 24



                                                                 Page 297

1                         V. GHOBRIAL
2       prevention interview.
3              Q       Understood, with Troy Hennessy?
4              A       Yes.
5              Q       And that was the date that
6       Plaintiff returned to work after medical
7       leave, right?
8              A       Correct.
9              Q       And when did you make the
10      decision to fire Plaintiff?
11             A       February 23, I believe.
12                     MR. WARSHAW:               Objection to
13             form.
14             Q       February 23, you believe?
15             A       February 23, 2016.
16             Q       You're sure about that?
17             A       I think so, yes.
18             Q       Is there possibly any other
19      date?
20             A       No.
21             Q       When were discussions about
22      suspending Plaintiff?
23                     MR. WARSHAW:               Objection to
24             form.
25             A       After the interview, February

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       Case 1:17-cv-02393-JMF Document 142-3 Filed 07/17/18 Page 24 of 24



                                                                 Page 302

1                         V. GHOBRIAL
2              A       Yes.
3              Q       The top e-mail says HR has
4       reviewed Ciera's paperwork and video
5       recording her suspension.                     Do you see
6       that?
7              A       Yes.
8              Q       And you wrote that, right?
9              A       Yes.
10             Q       So Plaintiff was already
11      suspended by the time this e-mail was
12      written, right?
13             A       She was suspended on the 22nd.
14      Yes.
15             Q       So she was suspended before this
16      e-mail that you said was dated February
17      23, correct?
18             A       Correct.
19             Q       And supports the decision to
20      terminate, right?
21             A       Yes.
22             Q       So the decision to terminate
23      also occurred before your e-mail about you
24      saying -- one that you say is February 23,
25      2016?

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